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 11

 12                            UNITED STATES DISTRICT COURT
 13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 14

 15   HURFORD GLOBAL, LLC,                          Case No. 2:20-cv-10203-JVS-PVC
 16               Plaintiff,                        ORDER REGARDING FILING
                                                    AMENDED COMPLAINT
 17         v.
 18   ROM TECHNOLOGIES, INC., et al.,
 19               Defendants.
 20
      ROM TECHNOLOGIES, INC.,
 21
                  Counterclaimant,
 22         v.
 23   HURFORD GLOBAL, LLC,
 24               Counterdefendant.
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                                                1
            ORDER RE FILING AMENDED COMPLAINT - 2:20-CV-10203-JVS-PVC
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                                    #:943


  1         The Court, having considered the Parties’ Stipulated Request Regarding
  2   Filing of Amended Complaint, hereby ORDERS that the deadline for Plaintiff to
  3   file an Amended Complaint is extended to September 15, 2021.              All other
  4   scheduling deadlines shall remain the same, i.e., as set forth in the Court’s Order
  5   Regarding Balance of Case Management Dates, Dkt. 102, and Order Regarding
  6   Extension of Scheduling Deadlines. Dkt. 110.
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  8   IT IS SO ORDERED.
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 10   DATED: August 31, 2021
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 12                                     HON. JAMES V. SELNA
                                        UNITED STATES DISTRICT JUDGE
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      [PROPOSED] ORDER RE FILING AMENDED COMPLAINT - 2:20-CV-10203-JVS-PVC
